                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


UNITED STATES OF AMERICA,                            )
                                                     )
                              Plaintiff,             )
                                                     )
                        v.                           )      No. 06-4002-12-CR-C-NKL
                                                     )
OLAN DANIEL GEORGE,                                  )
                                                     )
                              Defendant.             )

                             REPORT AND RECOMMENDATION

       This case was referred to the undersigned United States Magistrate Judge for processing
in accord with the Magistrate Act, 28 U.S.C. § 636, and W.D. Mo. R. 22.
       On December 4, 2006, a hearing was held on the respective motions for bills of
particulars, severance; disclosure of confidential informants, and suppression filed by defendants
Cyrus Pope, Douglas Comstock, Calvin Corley and Olan George. Cyrus Pope appeared in
person and was represented by counsel Michael Gorla. Douglas Comstock appeared in person
and was represented by counsel Kimberly Shaw. Calvin Corley appeared in person and was
represented by counsel Bryan Scheiderer. Olan George appeared in person and was represented
by counsel Stan Clay.
       Defendant George’s motion seeking suppression of evidence obtained through
intercepted wire communications was addressed at the hearing. DEA Case Agent Steve Mattas
testified as to the facts pertaining to the motion. Agent Mattas’ testimony has not been seriously
challenged by defendants and the court finds Agent Mattas to be a credible witness.
       Defendant George’s motion to suppress raises no issues different from those raised by
codefendant Pope, and is, therefore, recommended denied for the reasons set forth in the report
and recommendation entered on February 20, 2007, in codefendant Pope’s case No. 06-4002-10
(Doc. 330).
       IT IS, THEREFORE, RECOMMENDED that defendant George’s motion to suppress
evidence obtained through intercepted wire communications be denied. [212].




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       Under 28 U.S.C. § 636(b)(l), the parties may make specific written exceptions to this
recommendation within ten (10) days. If additional time is needed, a motion for an extension of
time must be filed within ten days. The motion should state the reasons for the request. See
Nash v. Black, 781 F.2d 665, 667 (8th Cir. 1986) (citing Thomas v. Arn, 474 U.S. 140 (1985));
Messimer v. Lockhart, 702 F.2d 729 (8th Cir. 1983). Failure to make specific written exceptions
to this report and recommendation may result in a waiver of the right to appeal.
       Dated this 26th day of March, 2007, at Jefferson City, Missouri.



                                             /s/   William A. Knox
                                             WILLIAM A. KNOX
                                             United States Magistrate Judge




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